Case 1:24-cr-00045-RSB-PMS   Document 40-3   Filed 05/15/25   Page 1 of 6
                             Pageid#: 401




                   EXHIBIT C
Case 1:24-cr-00045-RSB-PMS   Document 40-3   Filed 05/15/25   Page 2 of 6
                             Pageid#: 402
Case 1:24-cr-00045-RSB-PMS   Document 40-3   Filed 05/15/25   Page 3 of 6
                             Pageid#: 403
Case 1:24-cr-00045-RSB-PMS   Document 40-3   Filed 05/15/25   Page 4 of 6
                             Pageid#: 404
 Case 1:24-cr-00045-RSB-PMS              Document 40-3         Filed 05/15/25      Page 5 of 6
                                         Pageid#: 405
                                                6

                                          Chapter 2
                              Entering and Exiting the Kingdom
                                    ____________________

              Section 11. A person entering or exiting the Kingdom shall enter or exit
through port of entry, immigration checkpoint, terminal area, station, or locality and at the
prescribed times as published in the Government Gazette by the Minister.

               Section 12. Aliens falling into any of the following categories are excluded
from entering the Kingdom —
               (1) Having no valid and subsisting passport or travel document or having the
same but without a visa stamp by a Royal Thai Embassy or Consulate in a foreign country or
from the Ministry of Foreign Affairs, except in a case where a visa stamp is not required for
certain types of aliens under special circumstances.
               Visa stamping and its exemption shall be in accordance with the criteria,
procedures and conditions prescribed in the Ministerial Regulations.
               Fees for visa stamping in (1) shall be paid as prescribed in the Ministerial
             3
Regulations.
               (2) Having no appropriate means of living on entering the Kingdom;
               (3) Entering the Kingdom to earn livelihood as a labourer or to be hired to do
physical work and not skilled, or technical work, or to do other works in violation of alien
working laws;
               (4) Being of unsound mind or having any of the diseases as prescribed in the
Ministerial Regulations;
               (5) Having not been inoculated against smallpox or undergone vaccination or

              3
                  Section 12 (1) paragraph three as added by the Immigration Act (No. 2), B.E. 2523
(1980)
DISCLAIMER: THIS TEXT HAS BEEN PROVIDED FOR EDUCATIONAL/ COMPREHENSION PURPOSES AND
CONTAINS NO LEGAL AUTHORITY. THE OFFICE OF THE COUNCIL OF STATE SHALL ASSUME NO
RESPONSIBILITY FOR ANY LIABILITIES ARISING FROM THE USE AND/OR REFERENCE OF THIS TEXT. THE
ORIGINAL THAI TEXT AS FORMALLY ADOPTED AND PUBLISHED SHALL IN ALL EVENTS REMAIN THE SOLE
AUTHORITY HAVING LEGAL FORCE.
 Case 1:24-cr-00045-RSB-PMS            Document 40-3       Filed 05/15/25     Page 6 of 6
                                       Pageid#: 406
                                             7

any other medical operation for protection against communicable diseases as provided by
law and having not allowed the immigration physician to do so;
                (6) Having been imprisoned by a judgement of a Thai court or by a lawful
injunction or by a judgement of a court of foreign country, except for punishment for petty
offence or offence committed through negligence or as provided as exemption in the
Ministerial Regulations;
                (7) Having been indicated under certain circumstances as likely to cause
disruption jeopardizing public peace or safety or the Kingdom security or being a person with
warrant of arrest issued by a foreign government;
                (8) Having been indicated under certain circumstances as likely to engage in
prostitution, woman or child trafficking, drug trafficking, evasion of customs duty, or to
engage in other activities contrary to public order or good morals;
                (9) Having no money or bond as prescribed by the Minister’s publication
under Section 14;
                (10) Being prohibited from entering the Kingdom by the Minister under
Section 16;
                (11) Being deported by the Government of Thailand or the Government of a
foreign country, or the right of stay in the Kingdom or in foreign country having been
revoked, or having been repatriated from the Kingdom by competent official at the
expenses of the Government of Thailand, unless the Minister may consider exemption on a
basis of special individual case.
                The examination and diagnosis of physical disease or mental disorder
including preventive operations against communicable disease, shall be conducted by the
Immigration Physician.

              Section 13. The following aliens shall be exempted from requirements to
have a passport or travel document:

DISCLAIMER: THIS TEXT HAS BEEN PROVIDED FOR EDUCATIONAL/ COMPREHENSION PURPOSES AND
CONTAINS NO LEGAL AUTHORITY. THE OFFICE OF THE COUNCIL OF STATE SHALL ASSUME NO
RESPONSIBILITY FOR ANY LIABILITIES ARISING FROM THE USE AND/OR REFERENCE OF THIS TEXT. THE
ORIGINAL THAI TEXT AS FORMALLY ADOPTED AND PUBLISHED SHALL IN ALL EVENTS REMAIN THE SOLE
AUTHORITY HAVING LEGAL FORCE.
